                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


WILLIAM FEEHAN,

               Plaintiff,

       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                              Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN HUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.


                   DEFENDANT GOVERNOR TONY EVERS’S
             MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT


       The reasons for dismissing Plaintiff’s complaint, with prejudice, are numerous. Glaringly,

not only does Plaintiff lack standing to bring his claims, but his claims are also not justiciable

before this Court. Therefore, the Court lacks subject matter jurisdiction and the complaint should

be dismissed pursuant to Fed. R. Civ. P. 12(b)(1). Moreover, Plaintiff’s claims are barred by the

Eleventh Amendment of the U.S. Constitution. And, given Plaintiff’s delay in filing his

complaint, even if Plaintiff had standing and his claims were both justiciable and not

constitutionally foreclosed, they are now foreclosed under the doctrine of laches. Finally, even if

Plaintiff surmounts these jurisdictional, justiciability, and equitable objections, Plaintiff’s claims

should also be dismissed pursuant to Fed. R. Civ. P. 9(b) and 12(b)(6) for failure to allege fraud

with particularity and failure to state a claim upon which relief may be granted.
        For all of these reasons, Defendant Governor Tony Evers moves this Court to dismiss

Plaintiff’s claims entirely and with prejudice without ever adjudicating Plaintiff’s motion for

injunctive relief.

        This motion to dismiss must be heard before any motion for relief in this matter.

Although styled as temporary or preliminary relief, Plaintiff’s requested relief, namely

overturning the results of Wisconsin’s November 2020 presidential election, is effectively

permanent. Moreover, Plaintiff’s recent request for an evidentiary hearing makes clear that what

he seeks—without any discovery or basic adversarial development of evidence—is a trial and

final adjudication on the merits. Accordingly, Fed. R. Civ. P. 12(i) requires the Court to hear and

decide this motion before reaching Plaintiff’s request for injunctive relief.

        The grounds for this motion are fully set forth in the accompanying brief.



Dated: December 7, 2020                       Respectfully submitted,

                                              /s/ Jeffrey A. Mandell
                                              Jeffrey A. Mandell
                                              Rachel E. Snyder
                                              Richard A. Manthe
                                              STAFFORD ROSENBAUM LLP
                                              222 W. Washington Ave., Suite 900
                                              Madison, WI 53701-1784
                                              Telephone: 608-256-0226
                                              Email: jmandell@staffordlaw.com
                                              Email: rsnyder@staffordlaw.com
                                              Email: rmanthe@staffordlaw.com

                                              Justin A. Nelson
                                              Stephen E. Morrissey
                                              Stephen Shackelford Jr.
                                              Davida Brook
                                              SUSMAN GODFREY L.L.P.
                                              1000 Louisiana St., Suite 5100
                                              Houston, TX 77002


                                                  2
(713) 651-9366
jnelson@susmangodfrey.com
smorrissey@susmangodfrey.com
sshackelford@susmangodfrey.com
dbrook@susmangodfrey.com

Paul Smith
CAMPAIGN LEGAL CENTER
1101 14th St. NW, Suite 400
Washington, DC 20005
(202) 736-2200
psmith@campaignlegalcenter.org

Attorneys for Defendant, Governor Tony Evers




  3
